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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

CONSUMER FINANCIAL PROTECTION  )
BUREAU,                        )
                               )
                Plaintiff,     )
                               )
          v.                   )                C.A. No. 17-1323 (MN)
                               )
THE NATIONAL COLLEGIATE MASTER )
STUDENT TRUST, et al.,         )
                               )
                Defendants.    )

                                        ORDER

     At Wilmington this 19th day of October 2018:

            For the reasons set forth in the Memorandum Opinion issued this date,

            IT IS HEREBY ORDERED that:

            1.     Movants' motions to intervene (D.I. 4, 9, 11, 12, 20, 31, 33, 35) are

GRANTED.




                                                The Honorable      ryellen Noreika
                                                United States District Judge
